          Case 1:21-cv-02130-CJN Document 2 Filed 08/10/21 Page 1 of 12




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                       )
 US DOMINION, INC., DOMINION           )
 VOTING SYSTEMS, INC., and             )
 DOMINION VOTING SYSTEMS               )
 CORPORATION                           )
 c/o Cogency Global                    )
 1025 Vermont Ave, NW, Ste. 1130       )
 Washington, DC 20005,                 )
                                       )
 Plaintiffs,                           )
                                       )
 v.                                    )    Case No.
                                       )
 HERRING NETWORKS, INC., d/b/a         )
 ONE AMERICA NEWS NETWORK              )
 101 Constitution Ave., NW             )
 Washington, DC 20001,                 )
                                       )
 CHARLES HERRING                       )
 17353 Circa Oriente                   )
 Rancho Santa Fe, California 92067,    )
                                       )
 ROBERT HERRING, SR.                   )
 4289 Rancho Las Brisas Trail          )
 San Diego, California 92130,          )
                                       )
 CHANEL RION                           )
 3211 Cherry Hill Lane, NW             )
 Washington, DC 20007,                 )
                                       )
 And                                   )
                                       )
 CHRISTINA BOBB                        )
 565 Pennsylvania Ave., NW             )
 Apt. 803                              )
 Washington, DC 20001,                 )
                                       )
 Defendants.                           )
                                       )




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               Case 1:21-cv-02130-CJN Document 2 Filed 08/10/21 Page 2 of 12




                                    NOTICE OF FILING EXHIBITS

          1.        Plaintiffs hereby give notice of filing the attached exhibits, which are exhibits to

the Complaint filed on August 10, 2021 in the case captioned above [D.E. 1] an d listed below. All

exhibits listed below have been electronically filed pursuant to LCvR 5.4(a) unless othe1wise

noted.

         2.         Due to their nature, certain exhibits listed below are unable to be filed electronically

through the Court 's ECF System. These exhibits are identified in the "Location" column below.

A transcribed copy of each of those exhibits has been electronically filed through the Comi's ECF

System with the co1Tesponding Exhibit Number pursuant to LCvR 5.4(a), unless othe1wise noted.

Upon request, Plaintiffs can aITange for files of those exhibits to be delivered to the Comi.

 Exhibit                                Description                                    Location
  No.
  370           Dec. 18, 2020 Ltr. From T. Clare an d M. Meier to R.
                HeITing, C. HeITing, and B. Littman
    371         Dec. 22, 2020 Ltr. From T. Clare an d M. Meier to R.
                HeITing an d C. HeITing
    372         Feb. 4, 2021 Ltr. from M. Meier & T. Clare to E. Early
    373         Apr. 16, 2021 Ltr. From S. Shackelford to E. Early
    374         May 12, 2021 Ltr. From S. Shackelford to E. Early
    375         June 18 2021 Ltr. From S. Shackelford to B. Rhodes
    376         July 13, 2021 Ltr. From S. Shackelford to B. Rhodes
    377         Aug. 4, 2021 Ltr. From S. Shackelford to B. Rhodes
    378         Colby Hall, Trnmp Goes ALL Caps Promoting OAN's                Po1iions of this exhibit
                Voter Fraud Conspiracy Debunked By the NY Times                contain audio/video files,
                and Others, Mediaite (Nov. 12, 2020),                          which is not a fo1mat that
                https://www.mediaite.com/election-2020/trmn:12-goes-           readily pe1mits electronic
                all-ca12s-12romoting-oans-voter-fraud-cons12iracy-             filing. A transcript of
                debunked-by-the-ny-times-and-others/.                          those audio/video files
                                                                               have been electronically
                                                                               filed with this exhibit.
                                                                               These files are
                                                                               maintained by counsel
                                                                               an d available upon
                                                                               request.




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 Exhibit                           Description                                   Location
  No.
  379        The Tipping Point: Election Results in Question, One        This exhibit is an
             America News Network (Nov. 13, 2020),                       audio/video file, which is
             htms://a1212.criticalmention.com/a1212/#cli12/view/518987   not a fo1m at that readily
             a5-d292-4001-bde0-95a8b9bb2999?token=e 1bb29b2-             permits electronic filing.
             fc08-4587-be57-88dd81 ea 7a3a.                              A transcript of this
                                                                         audio/video file has been
                                                                         electronically filed with
                                                                         the con esponding exhibit
                                                                         number. This exhibit is
                                                                         maintained by counsel
                                                                         an d available upon
                                                                         request.
    380      Real America with Dan Ball: Investigating Voter             This exhibit is an
             Fraud with Chanel Rion, One America News Network audio/video file, which is
             (Nov. 14, 2020),                                            not a fo1m at that readily
             htms://a1212.criticalmention.com/a1212/#cli12/view/ 1ce551 permits electronic filing.
             42-8ca2-4e8f-9af7-089bf5edf9d9?token=39a0275b-              A transcript of this
             e88a-4dal-b06b-de6723ac765c.                                audio/video file has been
                                                                         electronically filed with
                                                                         the con esponding exhibit
                                                                         number. This exhibit is
                                                                         maintained by counsel
                                                                         an d available upon
                                                                         request.
    381      Dominion Exec: Trump Is Not Going To Win, I Made            This exhibit is an
             F***ing Sure OfIt, One America News Network (Nov. audio/video file, which is
             16, 2020),                                                  not a fo1m at that readily
             htms://a1212.criticalmention.com/a1212/#cli12/view/ l 76852 permits electronic filing.
             20-bb98-4032-ab0a-2aab63 70d708?token=039b 18a0-            A transcript of this
             39fe-40fl-bee4-7df466d96db 1.                               audio/video file has been
                                                                         electronically filed with
                                                                         the con esponding exhibit
                                                                         number. This exhibit is
                                                                         maintained by counsel
                                                                         an d available upon
                                                                         request.
    382      Chan el Rion (@ChanelRion), Twitter (Nov. 21 , 2020,
             11:10 am),
             httos://twitter.com/ChanelRion/status/13301969839660
             19586?s=20.




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 Exhibit                           Description                                   Location
  No.
  383        Dominion-izing the Vote , One America News Network          This exhibit is an
             (Nov. 21 , 2020), available at                              audio/video file, which is
             htms://www.youtube.com/watch ?v=7 46HTjhFifA.               not a fo1m at that readily
                                                                         permits electronic filing.
                                                                         A transcript of this
                                                                         audio/video file has been
                                                                         electronically filed with
                                                                         the con esponding exhibit
                                                                         number. This exhibit is
                                                                         maintained by counsel
                                                                         an d available upon
                                                                         request.
    384      Tech Millionaire Fund Hacking Team: "2020 Election          This exhibit is an
             100% Rigged", One America News Network (Nov. 23,            audio/video file, which is
             2020),                                                      not a fo1m at that readily
             htms://a1m.criticalmention.com/a1ml#cli12/view/67795b       permits electronic filing.
             8f-2934-4361 -81 bd-71Ob2250575a?token=37f52d99-            A transcript of this
             127d-4b48-b8dc-e5e99babfaaa.                                audio/video file has been
                                                                         electronically filed with
                                                                         the con esponding exhibit
                                                                         number. This exhibit is
                                                                         maintained by counsel
                                                                         an d available upon
                                                                         request.
    385      In Focus with Stephanie Hamill, One America News            This exhibit is an
             Network (Giuliani's interview broadcast from                audio/video file, which is
             Washington, D.C., Dec. 4, 2020), available at               not a fo1m at that readily
             htms://a1212.criticalmention.com/a1212/#cli12/view/70ebdd   permits electronic filing.
             ad-8d73-4e94-8a7c-7a1897437d92?token=9667991d-              A transcript of this
             a9cf-45 54-89fc-7585a 7734D 7.                              audio/video file has been
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 Exhibit                             Description                                   Location
  No.
  386         OAN Breaking News Live With Patrick Hussian:                 This exhibit is an
              President Trump: Election Fraud Is A Proven Fact,            audio/video file, which is
              One America News Network (Dec. 24, 2020),                    not a fo1mat that readily
              https://a1212.criticalmention.com/a1212/#cli12/view/edd926   permits electronic filing.
              32-4c80-4830-9322-cc20537255e2?token=945b87c9-               A transcript of this
              Oc2d-4595-99ec-c9c83da5b728.                                 audio/video file has been
                                                                           electronically filed with
                                                                           the con esponding exhibit
                                                                           number. This exhibit is
                                                                           maintained by counsel
                                                                           an d available upon
                                                                           request.
    387       Powell: Election Fraud Now Obvious Because Pres.             This exhibit is an
              Trump's Landslide Victory Broke Dominion 'Vote-              audio/video file, which is
              Switch' Algorithm, One America News Network (Dec. not a fo1m at that readily
              30, 2020),                                                   permits electronic filing.
              httos://a1212.criticalmention.com/a1212/#cli12/view/ 10544fd A transcript of this
              4-e686-47fa-b7 6a-62206fd3073 2?token=3e9c75c0-              audio/video file has been
              6f76-413d-baf8-14659794f3ff.                                 electronically filed with
                                                                           the con esponding exhibit
                                                                           number. This exhibit is
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    388       OAN News 8am with Stephanie Myers: Giuliani: State This exhibit is an
              & US. Lawmakers Must Reverse Election Fraud, One             audio/video file, which is
              America News Network (Jan. 1, 2021),                         not a fo1m at that readily
              htms://a1212.criticalmention.com/a1212/#cli12/view/2 7981 d permits electronic filing.
              65-ed66-4cee-8cdl -a7ac77b85891 ?token=76f4002c-             A transcript of this
              113c-4d95-b3 18-b3 fe8 1b0c8b5 .                             audio/video file has been
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 Exhibit                          Description                                 Location
  No.
  389        Weekly Briefing: Christina Bobb Interviews with Rudy     This exhibit is an
             Giuliani, One America News Network (Jan. 2, 2021),       audio/video file, which is
             htms://a1m.criticalmention.com/a1ml#cli12/view/74ed09    not a fo1mat that readily
             be-Of2b-4c 14-b9de-Oca0ad59952b ?token=7 6f4002c-        permits electronic filing.
             113c-4d95-b318-b3 fe81b0c8b5.                            A transcript of this
                                                                      audio/video file has been
                                                                      electronically filed with
                                                                      the conesponding exhibit
                                                                      number. This exhibit is
                                                                      maintained by counsel
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    390      Mathematician: Election Numbers Don't Add Up, One        This exhibit is an
             America News Network (Jan. 27, 2021),                    audio/video file, which is
             htms://www.oann.com/recall-effo1t -a gainst-calif-       not a fo1mat that readily
             govem or-gavin-newsom-a1212roaches-1-5-million-          permits electronic filing.
             signatures/.                                             A transcript of this
                                                                      audio/video file has been
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                                                                      the conesponding exhibit
                                                                      number. This exhibit is
                                                                      maintained by counsel
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    391      Absolute Proof (2020), previously available at           This exhibit is an
             htms://rumble.com/vdlbl7-absolute-12roof-mike-lindell-   audio/video file, which is
             election-documentai:y-full.html.                         not a fo1mat that readily
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                                                                      A transcript of this
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           Case 1:21-cv-02130-CJN Document 2 Filed 08/10/21 Page 7 of 12




 Exhibit                           Description                                   Location
  No.
  392        Absolute Proof Interview Special with Steve Bannon,          This exhibit is an
             One America News Network (Feb. 11 , 2021),                   audio/video file, which is
             htms://a1m.criticalmention.com/a1ml#cli12/view/5904b6        not a fo1mat that readily
             dO-e 1bd-4ab9-9d42-dacea0738ffa?token=6faa76fc-              permits electronic filing.
             dc7c-49e6-82ea-25835a3a9759.                                 A transcript of this
                                                                          audio/video file has been
                                                                          electronically filed with
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    393      Scientific Proof(Mike Lindell 2021) (clip 1 of 3),           This exhibit is an
             https://a1212.criticalmention.com/a1212/#cli12/view/cc4 l 32 audio/video file, which is
             79-f89b -4782-8c2a-bf49fl 42b45f?token=d01 c5f60-            not a fo1m at that readily
             58 lf-4664-b4ad-Oa 738ec4f5cb.                               permits electronic filing.
                                                                          A transcript of this
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    394      Scientific Proof(Mike Lindell 2021) (clip 2 of 3),           This exhibit is an
             htms://a1m.criticalmention.comla1ml#cli12/view/5e93ce9 audio/video file, which is
             7-870f-4c2a-bl46-afa 15777 1044?token=d01c5f60-              not a fo1m at that readily
             58 lf-4664-b4ad-Oa 738ec4f5cb.                               permits electronic filing.
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 Exhibit                            Description                                   Location
  No.
  395        Scientific Proof(Mike Lindell 2021) (clip 3 of 3),            This exhibit is an
             httos://a1m.criticalmention.com/a1ml#/re1201t/ 98d0f6fd-      audio/video file, which is
             e2b7-4363-b980-ad881ad:t294a.                                 not a fo1m at that readily
                                                                           permits electronic filing.
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    396      Absolute Interference (Mike Lindell 2021) (clip 1 of 3), This exhibit is an
             httos://a1212.criticalmention.com/a1212/#cli12/view/ 42d661 f audio/video file, which is
             e-471 l -43db-aafc-08988e6aa4b7?token=740123d8-               not a fo1m at that readily
             c29e-4556-8b4d-8f8401d86700.                                  permits electronic filing.
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    397      Absolute Interference (Mike Lindell 2021) (clip 2 of 3), This exhibit is an
             htms://a1m.criticalmention.comla1ml#cli12/view/327aa3 audio/video file, which is
             27-de 7b-466e-a897-aed8cb31524a?token=740123d8-               not a fo1m at that readily
             c29e-4556-8b4d-8f8401d86700.                                  permits electronic filing.
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           Case 1:21-cv-02130-CJN Document 2 Filed 08/10/21 Page 9 of 12




 Exhibit                            Description                                   Location
  No.
  398        Absolute Interference (Mike Lindell 2021) (clip 3 of 3),     This exhibit is an
             httos://a1m.criticalmention.com/a1ml#cli12/view/dbld75f      audio/video file, which is
             f-6bfd-4516-a3 16-7855464el631 ?token=740123d8-              not a fo1mat that readily
             c29e-4556-8b4d-8f8401d86700.                                 permits electronic filing.
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                                                                          audio/video file has been
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                                                                          number. This exhibit is
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    399      One-On-One With Mike Lindell, One America News               This exhibit is an
             Network (Apr. 29, 2021) (clip 1 of 2),                       audio/video file, which is
             htms://a1m.criticalmention.com/a1ml#cli12/view/f42eb2e       not a fo1mat that readily
             b-a58 l -4813-afc0-7567a843e5 la?token=36dfl a03-            permits electronic filing.
             68fa-42c8-8019-f0934a74828a .                                A transcript of this
                                                                          audio/video file has been
                                                                          electronically filed with
                                                                          the conesponding exhibit
                                                                          number. This exhibit is
                                                                          maintained by counsel
                                                                          and available upon
                                                                          request.
    400      One-On-One With Mike Lindell, One America News               This exhibit is an
             Network (Apr. 29, 2021) (clip 2 of2),                        audio/video file, which is
             httos://a1212.criticalmention.com/a1212/#cli12/view/306710   not a fo1mat that readily
             c8-0bfd-4796-ba07-82bf5 l 4febe0?token=36dfl a03-            permits electronic filing.
             68fa-42c8-8019-f0934a74828a .                                A transcript of this
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 Exhibit                           Description                                   Location
  No.
  401        Mike Lindell Tackles Election Fraud, One America            This exhibit is an
             News Network (May 3, 2021),                                 audio/video file, which is
             htms://a1m.criticalmention.com/a1ml#cli12/view/73f40fb      not a fo1mat that readily
             5-a9ab-4c8b-aal b-c038474c608f?token=78421 aOO-             permits electronic filing.
             fd36 -4024-80e9-790adD5eb22.                                A transcript of this
                                                                         audio/video file has been
                                                                         electronically filed with
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                                                                         nlllllber. This exhibit is
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                                                                         request.
    402      Weekly Briefing: Maricopa Audit, One America News           This exhibit is an
             Network (May 22, 2021),                                     audio/video file, which is
             htms://a1212.criticalmention.com/a1212/#cli12/view/c8867d   not a fo1mat that readily
             de-b 79c-4f09-8e0e-88c452abd6ff?token=5e040d89-             permits electronic filing.
             2d4e-48d8-8edf-99be7e0a5556.                                A transcript of this
                                                                         audio/video file has been
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                                                                         the con esponding exhibit
                                                                         nlllllber. This exhibit is
                                                                         maintained by counsel
                                                                         an d available upon
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    403      The Real St01y - OAN Absolutely 9-0 with Mike               This exhibit is an
             Lindell, One America News Network (June 7, 2021),           audio/video file, which is
             httos://rlllllble.com/vi6w712-the-real-stoa-oan-            not a fo1mat that readily
             absolutely-9-0-with-mike-lindell.html.                      permits electronic filing.
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                                                                         audio/video file has been
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 Exhibit                           Description                                    Location
  No.
  404        Mike Lindell, Absolutely 9-0, Lindell TV (June 3,            This exhibit is an
             2021), httos://lindelltv.com/mike-lindell-12resents-         audio/video file, which is
             absolutely-90/.                                              not a fo1m at that readily
                                                                          permits electronic filing.
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                                                                          electronically filed with
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                                                                          request.
    405      MyPillow CEO Mike Lindell announces details of               This exhibit is an
             upcoming cyber symposium, One America News                   audio/video file, which is
             Network (Jlm. 30, 2021), https://rnmble.com/vj9ddv-          not a fo1m at that readily
             mYQillow-ceo-mike-lindell-announces-details-of-              permits electronic filing.
             u12coming-cyber-SY!llQosium.html.                            A transcript of this
                                                                          audio/video file has been
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                                                                          request.
    406      Feb. 12, 2021 Ltr. From T. Clare and M. Meier to C.
             Bobb
    407      May 23, 2021 Ltr. From B. Rhodes to S. Shackelford
    408      Chan el Rion OAN (@ChanelRion), Twitter (Nov. 21 ,
             2020, 11:10 AM),
             https://twitter.com/ChanelRion/status/13301969839660
             19586.
    409      One America News (@OANN), Twitter (Nov. 17,
             2020, 7:03 AM),
             https://twitter.com/OANN/status/13287154837013954
             58.
    41 0     Charles Hening (@CharlesPHening), Twitter (Nov.
             22, 2020, 10:54 AM),
             https://twitter.com/CharlesPHening/status/1330585340
             424323072.
    411      Dec. 29, 2020 & Feb. 4, 2021 Ltrs. from T. Clare to E.
             Early


 Dated: August 10, 2021                               Respectfully submitted,


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                                               By:   /s/ Justin A. Nelson

 Thomas A. Clare, P.C. (D.C. Bar No. 461964)   Justin A. Nelson (D.C. Bar No. 490347)
 Megan L. Meier (D.C. Bar No. 985553)          Brittany Fowler (pro hac vice pending)
 Dustin A. Pusch (D.C. Bar No. 1015069)        (TX Bar No. 24109884)
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 (202) 628-7400                                (713) 651-9366
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 megan@clarelocke.com                          bfowler@susmangodfrey.com
 dustin@clarelocke.com
                                               Stephen Shackelford, Jr. (admission pending)
 Rodney Smolla (admission pending)             (NY Bar No. 5393657)
 (DE Bar No. 6327)                             SUSMAN GODFREY LLP
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 Wilmington, DE 19803                          New York, NY 10019
 (864) 373-3882                                (212) 336-8330
 rodsmolla@gmail.com                           sshackelford@susmangodfrey.com

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